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10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                       SAN FRANCISCO DIVISION
12

13   UNITED STATES OF AMERICA,                              ) NO. 3:19-CR-00367-10 CRB
                                                            )
14            Plaintiff,                                    ) [FILED AUGUST 8, 2019]
                                                            )
15       v.                                                 )
                                                            )
16   LUIS ALMICAR ERAZO-CENTENO,                            )
           a/k/a “Pika,”                                    )
17                                                          )
              Defendant.                                    )
18                                                          )

19
     UNITED STATES OF AMERICA,                              )   NO. 3:23-CR-00002 JSC
20                                                          )
              Plaintiff,                                    )   [FILED JANUARY 5, 2023]
21                                                          )
         v.                                                 )   NOTICE OF RELATED CASE IN A CRIMINAL
22                                                          )   ACTION
     MELVIN ALEXIS DIAZ ARTEAGA;                            )
23   GUSTAVO ERAZO; and                                     )
     LUIS ALMICAR ERAZO-CENTENO,                            )
24                                                          )
              Defendants.                                   )
25                                                          )
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28
     NOTICE OF RELATED CASES                                    1
     U.S. v. Erazo-Centeno (No. 3:19-cr-00367-10 CRB)
     U.S. v. Diaz Arteaga, et al. (No. 3:23-cr-00002 JSC)                                 v. 7/10/2018
                Case 3:23-cr-00002-CRB Document 19 Filed 01/09/23 Page 2 of 3




 1           Pursuant to Local Criminal Rule 8-1, the United States of America, hereby notifies the Court that

 2 the two above-captioned criminal cases are related. The more recent case, filed on January 5, 2023, in United

 3 States v. Diaz Arteaga, et al. (Case No. 3:23-cr-00002 JSC), involves “one or more of the same

 4 defendants” charged and convicted in the prior case, United States v. Erazo-Centeno (Case No. 3:19-cr-

 5 00367-10 CRB). In addition, the more recent case relates to events that occurred while one of the named

 6 defendants in that case, Luis Almicar Erazo-Centeno, was on supervised release after conviction in the

 7 prior case. The government has filed this notice on the docket in both above-captioned cases and provided

 8 a copy of the same to all counsel of record in the more recent case (Case No. 3:23-cr-00002 JSC).

 9           On August 8, 2019, a federal grand jury returned a three-count Indictment in Case No. 3:19-cr-

10 00367 CRB charging several defendants, including Mr. Erazo-Centeno, with conspiracy to distribute and

11 possess with intent to distribute heroin, methamphetamine, cocaine base, and cocaine, in violation of 21

12 U.S.C. §§ 846 and 841(a)(1) and (b)(1)(B). See Dkt. 51. The Indictment also charged other defendants,

13 but not Mr. Erazo-Centeno, with certain other drug offenses. See id. The government subsequently filed a

14 one-count Superseding Information on July 21, 2021, charging Mr. Erazo-Centeno with conspiracy to

15 distribute and possess with intent to distribute methamphetamine, heroin, and cocaine base, in violation

16 of 21 U.S.C. §§ 846 and 841(a)(1) and (b)(1)(C). See Dkt. 393. Mr. Erazo-Centeno pleaded guilty to the

17 sole count in the Superseding Information on July 21, 2021. See Dkts. 394, 395. On February 16, 2022,

18 Judge Breyer sentenced Mr. Erazo-Centeno to time served and imposed a three-year term of supervised
19 release to begin that same day. See Dkts. 418–420. Because of certain open warrants, however, Mr. Erazo-

20 Centeno was not released from custody until March 4, 2022. See Dkt. 423.

21           On March 9, 2022, the Probation Office submitted a Form 12 Petition for Warrant for Person

22 Under Supervision, alleging that the defendant violated a standard condition of his supervised release—

23 that is, that he violated the condition requiring him to report to the Probation Office within 72 hours of his

24 release from custody. See Dkt. 423. The Form 12 Petition also alleged that Mr. Erazo-Centeno failed to

25 self-surrender to the Bureau of Immigration and Customs Enforcement on March 7, 2022, as he had agreed

26 to do. See id. On November 21, 2022, the Probation Office submitted an Amended Form 12 Petition,

27 alleging that the defendant violated a mandatory condition of his supervised release—that is, that he

28
     NOTICE OF RELATED CASES                                2
     U.S. v. Erazo-Centeno (No. 3:19-cr-00367-10 CRB)
     U.S. v. Diaz Arteaga, et al. (No. 3:23-cr-00002 JSC)                                        v. 7/10/2018
                Case 3:23-cr-00002-CRB Document 19 Filed 01/09/23 Page 3 of 3




 1 violated the condition prohibiting him from committing another federal, state, or local crime. See Dkt.

 2 449. The Amended Form 12 Petition alleged that Mr. Erazo-Centeno was arrested in Oakland on

 3 November 16, 2022, in possession of narcotics that he intended to sell. See id.

 4           On January 5, 2023, a federal grand jury returned an eight-count Indictment in Case No. 3:23-cr-

 5 00002 JSC charging Mr. Erazo-Centeno with (i) possession with intent to distribute fentanyl, in violation

 6 of 21 U.S.C. § 841(a)(1) and (b)(1)(C) [Count Five]; and (ii) being an accessory after the fact, in violation

 7 of 18 U.S.C. § 3 [Count Six]. See Dkt. 17. The Indictment also charges other defendants, but not Mr.

 8 Erazo-Centeno, with certain other drug offenses. See id. [Counts 1–4, 7–8]. The facts underpinning the

 9 second violation of supervised release alleged in Case No. 3:19-cr-00367-10 CRB are the same as the

10 facts underpinning the charges now pending against Mr. Erazo-Centeno in Case No. 3:23-cr-00002 JSC.

11           Accordingly, these cases are related within the meaning of Criminal Local Rule 8-1(b)(1) because

12 they “concern one or more of the same defendants and the same alleged events, occurrences, transactions

13 or property.” The cases are also related within the meaning of Criminal Local Rule 8-1(b)(2) because they

14 “appear likely to entail substantial duplication of labor if heard by different Judges.”

15           Assignment of these cases to a single judge is likely to conserve judicial resources and promote an

16 efficient determination of each action. See Crim. L.R. 8-1(c)(4).

17

18 DATED: January 9, 2023                                         Respectfully submitted,

19                                                                STEPHANIE M. HINDS
                                                                  United States Attorney
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21                                                                 /s/ Nicholas Parker
                                                                  NICHOLAS M. PARKER
22                                                                Assistant United States Attorney
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     NOTICE OF RELATED CASES                                3
     U.S. v. Erazo-Centeno (No. 3:19-cr-00367-10 CRB)
     U.S. v. Diaz Arteaga, et al. (No. 3:23-cr-00002 JSC)                                       v. 7/10/2018
